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FEDERAL BUREAU OF INVESTIGATION

Date of entry Ol/o4/enee

John Tiano {Tiano), date of birth Rn. 1954, home address of 7
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interviewed telephonically. The interview was audio recorded. This report is
a summary of the information provided by Tiano and is not a verbatim
transcript of the interview. After being advised of the identity of the
interviewing Agents, Special Agent Scott Dahlstrom and Task Force Officer
Shawna Gilbert, and the nature af the interview, Tiano provided the

following information:

Tiano met Lawrence Rudolph (Lawrence) in 1972 while both were in college
at the University of Pennsylvania. Both of them were pre-dental students,
had the same classes, and sat close together because of their last names
being alphabetically close. Tiano and Lawrence established a friendship and
Tiane thought Lawrence was very charismatic and likeable. Tiano and Lawrence

were at each other's weddings and Lawrence spoke at Tiano's wedding in 1977.

After college, Tiano went to dental school in Philadelphia and Lawrence
went to dental school in Pittsburgh. They both kept in touch during this

time.

After dental school, both Tiano and Lawrence went to work at different
dental offices. In 1980, Tiano opened his own dental practice. In 1962
Lawrence opened his own dental practice. in late 1992, Lawrence talked toa
Tiano about opening a practice together. In 1983 they opened a practice
together and then seven months later, they merged their other offices

together. These offices went by the name of The Dentistry.

Tiano and Lawrence operated these offices as the owners from 1983 to
1997, They then sold the offices to an outside company but continued working
together. The offices were sold ta different companies through the years and
then Tiano and Lawrence eventually bought them back in 2003. The last

company did not want to be in the Pittsburgh market so the price was good ta

 

Investigationon 01/03/2022 a Denver, Colorado, United States (Phone)

rit i Date drafted 01/03/2022

by Scott Dahlstrom

 

 

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buy it. They both worked together from 1983 up until 2007.

Tianoe sold the business in 1997 because working with Lawrence was a
"nightmare™. Lawrence was like "Dr. Jekyll and Mr. Hyde". When he was in a
good mood, people liked him. However, when he was in a bad mood he was

"intimidating™” and employees felt it was dangerous to work there.

Lawrence threatened people. If employees didn't cooperate with whatever
he wanted to do, including numerous violations of dental practice, they were
atraid he would actually follow through with whatever his threats were. He
threw trays of things on the floor and even patients asked what’s wrong with
him. Everyone lived in fear. But when he had gocd days he brought in food,

laughed, and joked around.

Tiano started seeing the bad side of Lawrence in 1991 or 1992. Lawrence
was all about money. "Money was God" to Lawrence. Nothing else in his life
mattered more than money. If he felt there could have been more money made
or something happened that affected profits, Lawrence lost control.

Tiano stated that Lawrence was a "Manic Depressive".

Lawrence never threatened Tiano with violence. However, Lawrence once
said that if a dentist were to turn him in or say something about "this or
that" that he would “kill the motherfucker". When Tiano did not go along
with Lawrence and his style, Lawrence called him a “pussy" or a
"lightweight". Employees told Tianoc that when he wasn't around, Lawrence
referred to Tiano as “Jane" to employees because Tiano wasn't on board with

what Lawrence was doing.

In 2007, Lawrence was injured on a hunting trip in Africa and he
collected on a disability insurance policy. According to the buy/sell
agreement with Tiano, Lawrence was to get a payout and turn over his
ownership shares to Tiano. Lawrence refused to turn over the shares of
stock. He wanted to stay in the company and retain ownership. Tiano didn't
want anything to do with him and he had to hire security and guard each
office to keep him out of the offices. This was done because Lawrence went
to the Greentree office, called the staff in for a meeting and told them
they were "M’ ters" and everyone better start listening to him. He then
jumped up and grabbed an exit sign and ripped it out of the ceiling. Staff

said they weren't dealing with it anymore and that incident was it.

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Tiane then hired security. This was after Lawrence became disabled.
Tiano had hired an attorney who told him to lock Lawrence out and that is

what Tiano did. Lawrence then stopped coming around.

After Lawrence stopped coming by, an office manager named Frank
Langell (Langell}, began embezzling money from the dental practice. When
Langell was confronted about the embezzlement and was faced with criminal
action, Langell stated that he was doing it because Lawrence asked Langell
to give him $5,000 a month as part of his payment for leaving. Langell was
loyal to Lawrence and once he was fired, there were no more issues.

Tiane did not press charges against Lawrence or Langell.

The dispute between Lawrence and Tiano lasted approximately one year. In
2008, Tiano had an issue with one of the dentists who had a previous history
of drug abuse. This dentist was Timothy Runco (Runcs). A staff member
approached Tiano and said Runco was ordering 500 tramadol bottles every
three months. Tiano talked to his attorney and fired Runco. Two weeks after
that someone tried to kill Tiano. In August 20093, Tiano came cut of the
office, opened his car door, and the glass shattered. Tiano heard another
gunshot and the sunroof shattered. Tiano looked around and saw a man with a
gun pointed at him. Tiano hit the ground and crawled around to the back of
his car. the man then drove away. Tiano attributed this to Runce's firing
and not Lawrence because Lawrence probably would have done it himself
instead of hiring someone. The shooter was a white male, approximately 30
years old and drove a white LTD or “Crown Vic" that appeared to be an old
police vehicle. Tiano reported it ta police who took a report. Tiano told
them te talk to Runce. They Talked to Runco and his wife and they had an
alibi. Runco's wife was a tattoo artist and had members of the Pagan
motorcycle gang that went to her shop. Tiano believed she hired someone from

the Pagans to take Tiano out.

Tiano did not have any interaction with Lawrence around the time of the

attack and he has not spoken ta Lawrence since 2009.

After Lawrence had his accident while hunting, Lawrence told Tiano he was
in Seuth Africa just back from safari and wanted to do some fishing.
Lawrence went fishing on the river by himself and threw a line in the river.
Lawrence had caught a fish and was pulling it in. The water was murky as he

got the fish to shore. A crocodile following the fish, Lunged cut, and bit a

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plece of Lawrence's hand. As Lawrence turned to run away, the crocodile also
got part of his calf. Lawrence said he was lucky to be alive and it could
have drug him in and killed him. Tiano believed this was completely staged.
Lawrence had the max disability insurance he could get. Every time he signed
up he made sure it would pay out iff he was unable to practice dentistry.
Lawrence also ordered morphine to take with him on every trip. He said he
was in a remote areas and in case he had accident while hunting, it could be
available. Lawrence spent hundreds of thousands of dollars on trips. One
particular guide Lawrence spent most of the trips with. Tiano thinks
Lawrence set up a plan with the quide to stage what looked like an attack.
Everything Lawrence does is well thought out and well calculated. He bought
insurance because he knew he was going to cash it in. Tiano said he can’t
prove Lawrence faked the attack. Subsequent to the attack, Lawrence was able
to collect disability due to the injury because he was not able to practice
dentistry. Even though Lawrence was receiving disability, he was still
practicing dentistry. Tiano heard from employees of Lawrence that he was

still doing so. Tiano saw the wounds on Lawrence's calf and hand.

Tiano stated Bianca Rudolph (Bianca) was "something special".
Tiano didn't like her. Bianca was “kind of slutty”, a "bitch", “foul
mouthed", and she thought she was better then everyone else. Bianca was a

miserable person who defended Lawrence to the nth degree.

At one point, Lawrence came to Tiano and said Blanca wanted a divorce.
Lawrence started the conversation by saying, “I fucked up", and seemed
distraught about it to the point of almost crying. Lawrence cheated on
Blanca numerous times. Lawrence thought everyone loved him and no one would
ever leave him. Bianca threatened to divorce Lawrence due to the infidelity.

Bianca also cheated on Lawrence after finding out with someone from her gym.

After this conversation, Tiano heard from Lawrence every once in a while

that their relationship was doing better.

Tiano knows Lawrence cheated because Lawrence told him. Lawrence told him
about Russia and the hookers he used there. Lawrence also had affairs with
start members. After Lawrence and Tiano split staftitmembers, they told
Tiano who Lawrence was "screwing". Tiano knew of two different people he was
with; MaryAnne Versmessan and a second person as well. Tiano also knew of

Lori Milliron (Milliron), who was Lawrence’s mistress that he had an ongoing

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affair with for years. Lawrence made no secret of this. Tiano never
witnessed their relationship being romantic. Lawrence told Tiano of his
relationship with Milliron in approximately 2004. Tiano was told about trips

they went on together and that he paid for her apartment and her car.

Tiano heard about Bianca’s death two months after it happened. He heard
she died from an accidental gunshot to the chest from Lawrence’s brother,
Joe Rudolph (Joe). That is all Joe knew. When Tianoc heard about the death,
he thought Lawrence killed her ar that he had someone kill
her. Tiano wondered why did all of this happen when Lawrence was in another
country. Tianc heard Lawrence cremated the body while still in Africa and
Chat he Didn't tell his own kids for a month. Tiano wondered how does

someone shoot themselves in the chest with a rifle.

Tiano never saw Bianca shoot guns and never went hunting with Bianca.

Rudolph never talked about Bianca as a hunter or how she did.

Bianca was involved in the dentistry business in the late 1980s and early
1990s.

Tiano stated that Lawrence didn't ever want to do any fillings. Doing
fillings was a low income procedure not worth his time. If a patient came in
with a cavity that could be filled, Lawrence took an X-ray and told the
patient they needed a root canal and crown. If the k-ray didn't reflect that
need, Lawrence got the patient numb, made the hele bigger, and then took
another X-ray. Lawrence then sent that X-ray in to the insurance
company. Tilano didn't see this first hand but heard it from
employees. Lawrence also took a patient K-ray and duplicated it 50 times.
Lawrence then sent one of these X-rays into an insurance company instead of

correct one. Lawrence refused to do fillings.

Blue Cross Blue Shield did an audit every 10 years or so. Lawrence made
every patient sign something that said they were having symptoms for the
root canal procedures to cover for these audits. These were also sent to the
insurance companies so the company would pay. Tiano stated Lawrence,
“Nsovered every track". He documented things to make everything jive.

Lawrence started this in the mid-1990s.

AGENT NOTE: Tiano later texted Special Agent Scott Dahlstrom and gave Joe

Rudolph's phone numbers as ee and ee Tiano gave a

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